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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 10, 2017



________________________________________________________________

                      UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 IN RE:                                  CASE NO. 13-12919
                                         JUDGE Jeffery P. Hopkins
 CHRISTOPHER HARTSFIELD                  CHAPTER 13
 HEIDI HARTSFIELD

          Debtors                        ORDER GRANTING DEBTORS’ MOTION
                                         TO APPROVE PERMANENT MORGTAGE
                                         LOAN MODIFICAITON (DOC.79 )


    This matter is before the Court pursuant to the Debtors’ Motion to
Approve Permanent Mortgage Loan Modification (Doc.79).

Trustee will not pay on Mortgagee’s, Ocwen Loan Servicing, prepetition
mortgage arrearage claim.
In authorizing the Debtors to enter into the Loan Modification Agreement, the
Court is making no finding as to the merits of the Loan Modification
Agreement, including whether the Loan Modification Agreement is in the best
interests of the Debtor(s).
The Court shall exercise jurisdiction over any matter pertaining to the Loan
Modification Agreement only to the extent consistent with the jurisdiction
and authority granted to it by the laws of the United States.




/s/Jayma C. Bagliore
O’Connor, Acciani and Levy
Jayma C. Bagliore-0008844
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SO ORDERED.

Copies to: Default List
+ Ocwen Loan Servicing
  1661 Worthington Road Ste 100
  West Palm Beach, FL 33409



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